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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


STACY FAULKENBERRY,                               *
    Plaintiff,                                    *
    v.                                            *          Civil Case No: 1:22-cv-01150-JMC
LLOYD J. AUSTIN, III,
Secretary of Defense,
United States Department of Defense,
                                                  *
    Defendant.
         *       *     *      *       *       *       *      *       *      *       *       *
                                             ORDER

         For the reasons explained in the Court’s accompanying Memorandum Opinion,

Defendant’s Motion to Dismiss Plaintiff’s Second Amended Complaint or, in the Alternative, for

Summary Judgement (ECF No. 47), treated as a motion to dismiss, is granted in part and denied

in part. The motion is granted to the extent that Plaintiff’s Count II remains only with respect to

her allegation that Defendant unlawfully retaliated against Plaintiff by issuing the Letter of

Reprimand following Plaintiff’s April 20, 2018, complaints of discrimination and communicated

intent to file an EEO complaint. The motion is further granted to the extent that Plaintiff’s Count

III remains only with respect to Plaintiff’s medical submissions accompanying her reasonable

accommodation request being allegedly improperly disclosed to Ontiveros and Ontiveros’

supervisors. Defendant shall file its responsive pleading responding to these remaining allegations

within fourteen (14) days of the date of this Order pursuant to Fed. R. Civ. P. 12(4).

          Additionally, Plaintiff’s Motion for Discovery Pursuant to Rule 56(d) (ECF No. 54) is

denied as moot. Although the motion is moot given the Court’s choice to treat Defendant’s motion

as one to dismiss, the Court will permit the parties to engage in additional discovery given the new
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scope of Plaintiff’s Second Amended Complaint. To that end, the parties shall confer and jointly

propose new scheduling order deadlines to complete discovery on the remaining claims in

Plaintiff’s Second Amended Complaint within twenty-one (21) days from the date of this Order.




Date: February 6, 2024                                            /s/
                                                           J. Mark Coulson
                                                           United States Magistrate Judge




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